                                                                        Exhibit A
                              1

                              2                    Second Amendment to Schedule of Assumed Contracts

                              3

                              4

                              5

                              6

                              7

                              8

                              9

                             10

                             11

                             12
Weil, Gotshal & Manges LLP




                             13
 New York, NY 10153-0119




                             14
      767 Fifth Avenue




                             15

                             16

                             17

                             18

                             19

                             20

                             21

                             22

                             23

                             24

                             25

                             26

                             27

                             28


                              Case: 19-30088   Doc# 7810-1   Filed: 06/05/20   Entered: 06/05/20 19:41:03   Page 1   .
                                                                      of 3
PG&E Corporation & Pacific Gas and Electric Company
Second Amendment to Schedule of Assumed Contracts
As of June 5, 2020




    Non-Debtor                                                               Debtor                                                                                                                         Effective Date
                             Match ID             Contract ID                                  Address                 City                State        Country     ZIP Code        Title of Agreement                           Cure Amount1
 Counterparty Name                                                           Name                                                                                                                           of Agreement



BANK OF AMERICA*           1001346        FNRSK_00045                    PG&E       100 NORTH                 CHARLOTTE               NC               US          28255        CREDIT AGREEMENT -          4/27/2017
                                                                         CORPORATIO TRYON ST                                                                                    CORPORATION REVOLVING
                                                                         N                                                                                                      CREDIT FACILITY




BOSTONIA FINANCE  1017642                 CCNRD_03015                    PACIFIC GAS 699 BOYLSTON             BOSTON                  MA               US          02116        MASTER PURCHASE           10/8/2014          –
COMPANY LLC                                                              AND         ST 8TH FL                                                                                  AGREEMENT AND
BOSTONIA PARTNERS                                                        ELECTRIC                                                                                               ASSIGNMENT SCHEDULE NO. 1
                                                                         COMPANY                                                                                                MASTER PURCHASE
                                                                                                                                                                                AGREEMENT



CAMPOS EPC LLC             1002352        SRCAMA_C3452_00445             PACIFIC GAS 1401 BLAKE               DENVER                  CO               US          80202        CAMPOS EPC; LLC MSA C3452   11/28/2018       –
                                                                         AND         STREET
                                                                         ELECTRIC
                                                                         COMPANY




CITIBANK*                  1002861        FNRSK_00044                    PACIFIC GAS 388 GREENWICH NEW YORK                           NY               US          10013        CREDIT AGREEMENT - UTILITY 4/27/2017
                                                                         AND         ST                                                                                         REVOLVING CREDIT FACILITY
                                                                         ELECTRIC
                                                                         COMPANY




CITIGROUP GLOBAL    1002861               FNRSK_00095                    PG&E       111 WALL ST.              NEW YORK                NY               US          10005        FINANCIAL ADVISOR AND
MARKETS INC.(CITI)*                                                      CORPORATIO                                                                                             INVESTMENT BANKING
                                                                         N                                                                                                      SERVICES




COUNTY OF FRESNO           1003607        ELCOPS7_53290                  PACIFIC GAS 3333 E                   FRESNO                  CA               US          93725        INTERCONNECTION          6/25/2018           –
                                                                         AND         AMERICAN AVE                                                                               AGREEMENT FOR NET ENERGY
                                                                         ELECTRIC                                                                                               METERING (NEM-2)
                                                                         COMPANY                                                                                                GENERATING FACILITIES
                                                                                                                                                                                GREATER THAN 1,000 KW


DOMINION FEDERAL*          1017644        CCNRD_02840                    PACIFIC GAS 6718 WHITTIER            MCLEAN                  VA               US          22101-       UESC VA SAN FRANCISCO       1/3/2018
                                                                         AND         AVE STE. 220                                                                  4531         PROJECT LOAN AGREEMENT
                                                                         ELECTRIC
                                                                         COMPANY



*Agreement has been removed from the Schedule of Assumed Contracts because it has expired, terminated, or has otherwise been determined to be non-executory and/or not capable of assumption.                                                   1 of 2
1The amounts identified herein under the column titled "Cure Amount" are exclusive of any post-petititon interest to be paid on account of such amounts pursuant to the Plan.




                                                    Case: 19-30088                    Doc# 7810-1                  Filed: 06/05/20                 Entered: 06/05/20 19:41:03                     Page 2
                                                                                                                            of 3
    Non-Debtor                                                            Debtor                                                                                                                     Effective Date
                           Match ID             Contract ID                                Address                City               State       Country     ZIP Code          Title of Agreement                      Cure Amount1
 Counterparty Name                                                        Name                                                                                                                       of Agreement



DOMINION FEDERAL*         1017644        CCNRD_02841                  PACIFIC GAS 6718 WHITTIER          MCLEAN                 VA               US         22101-       UESC VA LIVERMORE PROJECT 4/6/2018
                                                                      AND         AVE STE. 220                                                              4531         LOAN AGREEMENT
                                                                      ELECTRIC
                                                                      COMPANY




DONNA CASTRO AND          1353165        CRPSECLM_00427               PG&E       1111                    OAKLAND                CA               US         94607        AGREEMENT FOR               6/23/2014        25,000.00
THE RESTATED                                                          CORPORATIO BROADWAY,                                                                               ENVIRONMENTAL
RICHARD CASTRO                                                        N          24TH FLR.                                                                               REMEDIATION ACTIVITIES
BYPASS TRUST 1998




JP MORGAN*                1007835        FNRSK_00057                  PACIFIC GAS 270 PARK AVE           NEW YORK               NY               US         10017        DIP CREDIT AGREEMENT        2/1/2018
                                                                      AND
                                                                      ELECTRIC
                                                                      COMPANY




SIERRA PACIFIC            1429689        EPPEMCL_33T001               PACIFIC GAS PO BOX 1187            PIONEER                CA               US         95666        EMCL AGREEMENT              5/6/1965         4,183.51
POWER COMPANY                                                         AND
SIERRA PACIFIC                                                        ELECTRIC
NEVADA POWER                                                          COMPANY
SIERRA PACIFIC
INDUSTRIES

UNITED FINANCIAL OF 1017643              CCNRD_02838                  PACIFIC GAS 800 E. EIEHL RD NAPERVILLE                    IL               US         60563        UESC VA MENLO PARK
ILLINOIS*                                                             AND         STE 185                                                                                PROJECT LOAN AGREEMENT
                                                                      ELECTRIC
                                                                      COMPANY




UNITED FINANCIAL OF 1017643              CCNRD_02839                  PACIFIC GAS 800 E. EIEHL RD NAPERVILLE                    IL               US         60563        UESC GSA 630 SANSOME        5/1/2017
ILLINOIS*                                                             AND         STE 185                                                                                PROJECT LOAN AGREEMENT
                                                                      ELECTRIC
                                                                      COMPANY




*Agreement has been removed from the Schedule of Assumed Contracts because it has expired, terminated, or has otherwise been determined to be non-executory and/or not capable of assumption.                                         2 of 2



                                                  Case: 19-30088                   Doc# 7810-1                Filed: 06/05/20                Entered: 06/05/20 19:41:03                         Page 3
                                                                                                                       of 3
